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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1617V
                                          UNPUBLISHED


    CHRISTA CARDENAS,                                           Chief Special Master Corcoran

                         Petitioner,                            Filed: May 10, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.

Lara Ann Englund, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On October 16, 2019, Christa Cardenas filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered shoulder injuries as a result of an
influenza vaccine administered on October 31, 2018. Petition at 1. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

       On April 27, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for a Shoulder Injury Related to Vaccine Administration. On May 10, 2021,
Respondent filed a proffer on award of compensation (“Proffer”) indicating Petitioner
should be awarded $58,039.67. Proffer at 1-2. In the Proffer, Respondent represented
that Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find
that Petitioner is entitled to an award as stated in the Proffer.

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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        Pursuant to the terms stated in the attached Proffer, I award Petitioner:

        •    A lump sum payment of $57,719.34 (representing compensation in the
             amount of $55,000.00 for pain and suffering, $506.34 for lost wages, and
             $2,213.00 for unreimbursable medical expenses).

        •    A lump sum payment of $320.33 representing compensation for
             satisfaction of the Texas Medicaid & Healthcare Partnership lien, payable
             jointly to Petitioner and

                                   TMHP TPL-Tort Department
                                      Attn: Tort Receivables
                                         P.O. Box 202948
                                     Austin, TX 78720-2948
                                 Case number: 999992535304240

        Petitioner agrees to endorse this check to TMHP TPL-Tort Department.

      These amounts represent compensation for all damages that would be available
under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

CHRISTA CARDENAS,                                   )
                                                    )
                      Petitioner,                   )
                                                    )
       v.                                           ) No. 19-1617V
                                                    ) Chief Special Master Brian Corcoran
SECRETARY OF                                        )
HEALTH AND HUMAN SERVICES,                          )
                                                    )
                      Respondent.                   )
                                                    )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On April 27, 2021, respondent filed a Vaccine Rule 4(c) report concluding that petitioner

suffered a Shoulder Injury Related to Vaccine Administration (“SIRVA”) within the Table

timeframe following an influenza vaccination, which was compensable under the National

Childhood Vaccine Injury Act of 1986, as amended, 42 U.S.C. §§ 300aa-1 to -34. Accordingly,

on April 27, 2021, the Chief Special Master issued a Ruling on Entitlement.

I.    Items of Compensation

       Respondent proffers that petitioner should be awarded $55,000.00 for pain and suffering,

$506.34 for lost wages, $2,213.00 for unreimbursable medical expenses, and $320.33 to satisfy a

Medicaid lien asserted by Texas Medicaid & Healthcare Partnership. These amounts represent

all elements of compensation to which petitioner is entitled under 42 U.S.C. § 300aa-15(a).

Petitioner agrees.

II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made in

the form of two lump sum payments:
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       A. A lump sum payment of $57,719.34, representing compensation for pain and

           suffering, lost wages, and unreimbursable medical expenses, in the form of a check

           payable to petitioner. 1

       B. A lump sum payment of $320.33 representing compensation for satisfaction of the

           Texas Medicaid & Healthcare Partnership lien, payable jointly to petitioner and

                                  TMHP TPL-Tort Department
                                      Attn: Tort Receivables
                                         P.O. Box 202948
                                     Austin, TX 78720-2948
                                 Case number: 999992535304240

       Petitioner agrees to endorse this check to TMHP TPL-Tort Department.

       These payments represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                              Respectfully submitted,

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Acting Deputy Director
                                              Torts Branch, Civil Division

                                              ALEXIS B. BABCOCK
                                              Assistant Director
                                              Torts Branch, Civil Division



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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.


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                                   s/ LARA A. ENGLUND
                                   LARA A. ENGLUND
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Dated: May 10, 2021




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